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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-02555-WJM-MEH

  DEBORAH LAUFER,

         Plaintiff,

  v.

  CHOI YUN SUB, and
  CHOI YOUNG MI d/b/a Budget Host Longhorn Motel,

         Defendants.


                                    FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         Pursuant to the Order Adopting February 23, 2022 Recommendation of United

  States Magistrate Judge and Denying Plaintiff’s Motion for Stay of Proceedings Pending

  Appeal [49] entered by United States District Judge William J. Martínez on May 10,

  2022, it is

         ORDERED that Plaintiff’s [1] Complaint is dismissed without prejudice. It is

         FURTHER ORDERED that this action is terminated. It is

         FURTHER ORDERED that all parties will bear their own court costs.

  This case is closed.

  DATED May 11, 2022, at Denver, Colorado.

                                           FOR THE COURT:

                                           Jeffrey P. Colwell, Clerk

                                           By:    s/H.Guerra
                                                  Deputy Clerk
